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                                 UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OKLAHOMA
 UNITED STATES OF AMERICA,             )
                   Plaintiff,           )
       v.                               )     Case No. 22CR115CV
                                        )
 Johnny Wesley Sparks,                  )
                                        )
                   Defendant.           )
                                        )
                                        )
                    CONSENT TO APPEAR BY VIDEO TELECONFERENCE
                       BEFORE UNITED STATES MAGISTRATE JUDGE

        With the consent of Defendant after conferring with counsel, the Court is authorized to conduct certain

criminal proceedings by video conference. See N.D. Okla. General Order 20-46 (implementing the Coronavirus

Aid, Relief, and Economic Security Act, H.R. 748, and the March 27, 2020 action by the Judicial Conference of

the United States). See also Fed. R. Crim. P. 5(f), l0(c).

        Defendant hereby acknowledges Defendant has received and/or been read the charging instrument; that

such charging instrument has been reviewed by Defendant with counsel; that Defendant understands the nature

of the offenses charged; and that Defendant understands Defendant's right to appear in person for certain

proceedings. Acknowledging such, the Defendant hereby knowingly and voluntarily waives Defendant's right to

appear in person and hereby knowingly and voluntarily consents to appearance by use of video teleconferencing

for the following (check all that apply):

                              IZI Initial Appearance
                              D Arraignment
                              □ Detention Hearing

                              □ Preliminary Hearing



                                                                  Date: _ _f.__,_f._'J__,a/2.__'.l_J...
                                                                                                   _ _ __


                                                                  Date:
                                                                          -----------


1 Due to the COVID-19 pandemic, electronic signatures by permission will be accepted. If signed by permission, defense counsel

represents that Defendant gave express permission to apply his/her signature.
